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15
16                         UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18
19     THE REGENTS OF THE                      Case No. 2:19-cv-6570
       UNIVERSITY OF CALIFORNIA,
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                   Plaintiff,                  COMPLAINT FOR
21                                             PATENT INFRINGEMENT
             vs.
22
       WALMART INC.,                           DEMAND FOR JURY TRIAL
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                   Defendant.
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                                     COMPLAINT
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 1          Plaintiff The Regents of the University of California (“The Regents”) alleges
 2    as follows for its Complaint against Defendant Walmart Inc. (“Defendant”):
 3                                    INTRODUCTION
 4          1.    This is an action for patent infringement arising under 35 U.S.C. § 1 et
 5    seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
 6    1338(a).
 7          2.    This case is about protecting the reinvention of the light bulb by a
 8    Nobel laureate-led team at the University of California, Santa Barbara
 9    (“UC Santa Barbara”), the theft of that technology by unlicensed foreign
10    manufacturers, and the Defendant’s trafficking in infringing imports without proper
11    compensation to The Regents.
12          3.    Specifically, at issue is the Defendant’s infringement of The Regents’
13    United States Patents 7,781,789 (“’789 patent”), 9,240,529 (“’529 patent”),
14    9,859,464 (“’464 patent”), and 10,217,916 (“’916 patent”) (collectively, the
15    “Asserted Patents”), which are fundamental to a new generation of light bulbs
16    commonly referred to as “filament” LED light bulbs (illustrated below).
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             Filament LED Light Bulb                          Filament LED
28
                                              -1-
                                        COMPLAINT
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 1          4.      The Regents brings this Complaint to spearhead a broader, national
 2    response to the existential threat to university technology transfer that is posed by
 3    the widespread disregard for university patent rights that is prevalent today.
 4          5.      Universities and research institutions across the country have
 5    established technology transfer offices to identify, protect, and license the
 6    intellectual property developed by their faculty, students, and other researchers.
 7    These offices sit at the interface between academia and the private sector. They
 8    leverage an interdisciplinary collection of skills to transform the fruits of a
 9    university’s research into commercial products and services by establishing and
10    nurturing relationships between the university, where the research is conducted, and
11    entities in the private sector, which manufacture and sell products embodying the
12    university’s research. While as much an art as it is a science, the success of any
13    technology transfer program is predicated on the private sector respecting the
14    university’s intellectual property rights.
15          6.      However, overseas manufacturers routinely take unfair advantage of
16    academic openness. They exploit university intellectual property abroad with
17    impunity and then traffic infringing goods into the U.S. market through what are
18    often complex supply chains. By flooding the domestic market with unauthorized
19    products, they cripple the ability of technology transfer programs to effectively
20    license universities’ intellectual property. This undermines the universities’ rightful
21    opportunity to share in the revenue generated through commercialization of their
22    intellectual property – revenue that would support further research, education, and
23    development of cutting-edge technologies and new scientific insights that benefit
24    the public.
25          7.      This case is a classic example of that very scenario. The Regents has
26    expended and continues to expend significant resources to engineer, research,
27    develop, and license the inventions that are the subject of this case, only to see
28    those inventions stolen by unlicensed foreign manufacturers, imported into the
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                                          COMPLAINT
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 1    U.S., and sold to an unwitting domestic consuming public by retailers that have the
 2    power to require their supply chains to respect The Regents’ intellectual property
 3    but have not done so.
 4          8.     Filament LED light bulbs may include a variety of filament LED
 5    configurations while still infringing the Asserted Patents, such as, without
 6    limitation, different shapes of filaments (e.g., spiral instead of linear), different
 7    numbers of filaments, and different lengths of filaments. All such configurations are
 8    included in the term “filament LED” as used in this Complaint.
 9          9.     The Regents has obtained and analyzed samples of filament LED light
10    bulbs across a variety of retailers and brands, including but not limited to the
11    Defendant and its Great Value branded products. All filament LED light bulbs The
12    Regents has analyzed to date infringe at least one claim of the Asserted Patents.
13    Accordingly, The Regents is informed and believes that filament LEDs have been
14    commoditized by mass unlicensed manufacture and that substantially all filament
15    LED light bulbs from unlicensed sources infringe at least one claim of the Asserted
16    Patents.
17          10.    The Regents brings this Complaint seeking just compensation for the
18    use of the inventions claimed in the Asserted Patents consistent with The Regents’
19    duty to serve as trustee for the people of the State of California and as steward of
20    the University of California in fulfillment of its educational, research, and public
21    service missions in the best interests of the people of the State of California.
22          11.    UC Santa Barbara gave the Defendant notice of infringement of the
23    ’789 and ’529 patents, among others, in a certified letter dated December 20, 2017,
24    a copy of which is attached as Exhibit A.
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28    Asterisks indicate allegations made upon information and belief.
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                                           COMPLAINT
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 1                BACKGROUND OF FILAMENT LED LIGHT BULBS
 2          12.    The invention of the incandescent light bulb more than a century ago
 3    so profoundly changed the world that the light bulb became the very icon of
 4    invention. Reflecting Thomas Edison’s enduring fame for inventing the light bulb,
 5    many products on the market today that infringe the Asserted Patents are called
 6    “Edison” or “vintage” LED light bulbs because they resemble Edison’s iconic light
 7    bulbs with glowing filaments visible inside glass bulbs.
 8          13.    The patented filament LED technology invented at UC Santa Barbara
 9    enables light bulbs that replace traditional incandescent light bulbs and, in contrast,
10    use a tiny fraction of the energy, don’t get hot, break less easily, and last up to ten
11    or twenty years. Further, unlike compact fluorescent light bulb substitutes for
12    incandescent light bulbs, the patented filament LED technology does not contain
13    the toxic material mercury.*
14          14.    Over the life of a filament LED light bulb, the inventions of the
15    Asserted Patents yield savings in energy and replacement costs, relative to
16    comparable incandescent light bulbs, that far exceed the cost of the filament LED
17    light bulb itself. For example, the packaging of the Defendant’s infringing Great
18    Value LED Vintage Edison Light Bulb 4w Deco 2pk (Model: CAD4W22G-2P)
19    touts 13 years of life and savings of up to $184 versus a comparable incandescent
20    light bulb—in a product the Defendant sells for $7.72 per 2-pack as reflected in
21    Exhibit B, discussed below.
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                                          COMPLAINT
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 1          15.    Moreover, compared with other LED light bulb designs, filament LED
 2    light bulbs are more energy efficient and aesthetically pleasing due to the
 3    advantages conferred by the inventions of the Asserted Patents.*
 4          16.    The United States retail market has demonstrated tremendous
 5    customer demand for the aesthetic, economic, and environmental benefits conferred
 6    by the inventions of the Asserted Patents: while filament LED light bulbs only
 7    became widely available in the United States in about 2014 or 2015, sales of
 8    filament LED light bulbs are expected to exceed $1,000,000,000 in the United
 9    States in 2019.*
10          17.    Unfortunately, the filament LED light bulb industry has stolen The
11    Regents’ patented technology with utter disregard for The Regents’ patent rights.
12    Substantially all of the infringing filament LED light bulbs The Regents has found
13    on the retail market in the United States reflect China as the country of origin.
14          18.    For that reason, among others, The Regents seeks relief in this case for
15    retail sales of infringing filament LED light bulbs in the United States, where
16    consumers pay a premium over comparable incandescent light bulbs because of the
17    benefits of the inventions claimed in the Asserted Patents. As a major retailer in the
18    United States, the Defendant has the means and responsibility to ensure the
19    compliance of its supply chain with applicable laws. However, the Defendant has
20    not upheld that responsibility with respect to filament LED light bulbs and instead
21    has provided an illegal outlet for infringing products from unlicensed foreign
22    sources, depriving The Regents of compensation to which it is lawfully entitled for
23    the use of the inventions claimed in the Asserted Patents.
24                                          PARTIES
25          19.    The Regents is a California constitutional corporation with a principal
26    place of business in Oakland, California, and is the owner of all substantial rights in
27    the Asserted Patents. The Regents is charged with the duty of administering the
28    University of California as a public trust, pursuant to Article IX Section 9 of the
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                                         COMPLAINT
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 1    California Constitution. UC Santa Barbara is an internationally recognized
 2    pioneering research institution located in the Central District of California and is
 3    one of the ten campuses that make up the University of California System. All
 4    University of California actions are done in The Regents’ name, including owning
 5    property such as patents and other intellectual property and entering into contracts.
 6          20.    The Defendant is a Delaware corporation with corporate headquarters
 7    in Bentonville, Arkansas, and with numerous retail stores located in the Central
 8    District of California. The Defendant is registered to do business in California and
 9    has appointed as its registered agent for service of process C T Corporation System
10    at 818 West 7th Street, Suite 930, Los Angeles, California 90017.
11                              JURISDICTION AND VENUE
12          21.    As alleged in Paragraph 1 pursuant to Central District of California
13    L.R. 8-1, this Court has original and exclusive subject matter jurisdiction pursuant
14    to 28 U.S.C. §§ 1331 and 1338(a).
15          22.    This Court has personal jurisdiction over the Defendant because its
16    contacts with the Central District of California are significant and pervasive and
17    directly give rise to part of this dispute. The Defendant has numerous regular and
18    established retail stores located throughout the Central District of California.
19          23.    Venue is proper in the Central District of California under 28 U.S.C. §
20    1400(b) because the Defendant has engaged in infringement of the Asserted
21    Patents, and has numerous regular and established retail store locations, throughout
22    the Central District of California. For example, attached as Exhibit B is a copy of a
23    receipt for infringing sales by the Defendant on June 24, 2019, at Walmart
24    Supercenter #5686 located at 1301 North Victory Place, Burbank, California 91502.
25            UC SANTA BARBARA’S WORLD CLASS LED RESEARCH
26          24.    UC Santa Barbara proudly counts among its current and late faculty
27    six Nobel Laureates, one Fields Medal recipient, twenty-nine members of the
28    National Academy of Sciences, twenty-seven members of the National Academy of
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                                         COMPLAINT
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 1    Engineering, and thirty-one members of the Academy of Arts and Sciences.
 2    UC Santa Barbara receives over $180,000,000 per year to support its research
 3    efforts from both public and private sources.
 4          25.    UC Santa Barbara also is the home of a world-renowned Materials
 5    Department that is dedicated to solving tomorrow’s problems in electronic and
 6    photonic materials, inorganic materials, macromolecular and biomolecular
 7    materials, and structural materials. UC Santa Barbara’s Materials Department has
 8    consistently ranked in the top two in the nation in various studies, including by the
 9    National Research Council and U.S. News & World Report. In addition, according
10    to Thomson Reuters, Materials research at UC Santa Barbara ranks second in the
11    world in terms of citation impact—a method for comparing the quality of research.
12    The citing of a scholar’s research (as represented by a published scientific paper) in
13    another researcher’s published work is viewed as a strong indication of the
14    importance of the original work and the influence it might have.
15          26.    UC Santa Barbara’s Materials Department has nine separate affiliated
16    research centers, including the California NanoSystems Institute, the Center for
17    Multifunctional Materials and Structures, the Center for Stem Cell Biology and
18    Engineering, the Dow Materials Institute, the Institute for Collaborative
19    Biotechnologies, the Institute for Energy Efficiency, the Materials Research
20    Laboratory, the Mitsubishi Chemical Center for Advanced Materials, and the Solid
21    State Lighting and Energy Electronics Center (“SSLEEC”).
22          27.    SSLEEC is the home of nearly two decades of visionary research into
23    solid state lighting and power switching. Recognizing the need for energy-efficient
24    lighting technologies, The Regents, along with industry partners, has funded
25    groundbreaking research at SSLEEC and its predecessor entities that have led to
26    more energy-efficient solutions for lighting, cell phones, computers, appliances,
27    automobiles, industrial equipment, and power distribution systems. SSLEEC
28    research helps solve some of the world’s most critical problems by meaningfully
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                                         COMPLAINT
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 1    reducing energy consumption and waste associated with light bulbs and other
 2    necessities of daily life.
 3           28.    SSLEEC consists of approximately a dozen faculty members, thirty
 4    graduate students, and twenty staff, including internationally recognized researchers
 5    and visiting scholars. The faculty and staff of SSLEEC and its predecessors have
 6    published thousands of peer-reviewed publications and have amassed a portfolio of
 7    over 250 issued patents. Since its inception, SSLEEC has conferred approximately
 8    100 Ph.D. degrees.
 9           29.    Professor Shuji Nakamura is a tenured professor at UC Santa Barbara,
10    a co-Director of SSLEEC, and an inventor of each of the Asserted Patents. In 2014,
11    Professor Nakamura was honored as the co-recipient of the Nobel Prize in Physics.
12    He began researching high-efficiency blue LEDs (which are necessary to create
13    white light with LEDs) in the late 1980’s, and his former employer began selling
14    white LEDs enabled by his invention in the mid-1990’s. In addition to the 2014
15    Nobel Prize in Physics, Professor Nakamura has received numerous other awards
16    for his work in the field of LED lighting, including the Nishina Memorial Award
17    (1996), the Materials Research Society Medal Award (1997), the Institute of
18    Electrical and Electronics Engineers Jack A. Morton Award (1998), the British
19    Rank Prize (1998), the Benjamin Franklin Medal Award (2002), the Millennium
20    Technology Prize (2006), the Czochralski Award (2007), the Prince of Asturias
21    Award for Technical Scientific Research (2008), The Harvey Award (2009), and
22    the Technology & Engineering Emmy Award (2012) awarded by The National
23    Academy of Television Arts & Sciences (NATAS). He was elected as a fellow of
24    the U.S. National Academy of Engineering in 2003. He received the 2014 Order of
25    Culture Award in Japan and was inducted into the National Inventors Hall of Fame
26    in 2015. That same year, Professor Nakamura received the Charles Stark Draper
27    Prize for Engineering and the Global Energy Prize in Russia. In July 2016, he was
28    elected to Academia Sinica, Taiwan’s preeminent research institution. Professor
                                            -8-
                                        COMPLAINT
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 1     Nakamura has been a professor at UC Santa Barbara since 2000 and is an inventor
 2     of more than 200 United States patents in addition to over 175 Japanese patents. He
 3     has published over 550 papers in his field.
 4           30.    Professor Steven DenBaars is a tenured professor at UC Santa Barbara,
 5     a co-Director of SSLEEC, and an inventor of each of the Asserted Patents.
 6     Professor DenBaars is The Mitsubishi Chemical Professor in Solid State Lighting
 7     & Display at UC Santa Barbara. Prior to UC Santa Barbara, he was an engineer at
 8     Hewlett-Packard Optoelectronics, where he contributed to the growth and
 9     fabrication of visible LEDs, focusing specifically on high brightness red LEDs. He
10     joined UC Santa Barbara in 1991 and helped pioneer the field of solid-state
11     lighting, including the first United States university demonstration of a Blue
12     Gallium Nitride laser diode. Professor DenBaars is the recipient of the National
13     Scientist Foundation Young Investigator Award (1994), the Institute of Electrical
14     and Electronics Engineering Fellow Award (2005) and the IEEE Aron Kressel
15     Award (2010). Professor DenBaars is a fellow of the National Academy of
16     Engineering (NAE) and the National Academy of Inventors (NAI). He has
17     published over 800 papers and is an inventor of over 175 patents.
18           31.    Professor James Speck co-founded SSLEEC with Professors Shuji
19     Nakamura and Steven DenBaars and is an inventor of one of the Asserted Patents.
20     Professor Speck has been a member of the UC Santa Barbara faculty since 1990.
21     He holds the Seoul Semiconductor Chair in Solid State Lighting at UC Santa
22     Barbara. Professor Speck is a member of the Materials Research Society, the
23     American Physical Society, and the Microscopy Society of America. Professor
24     Speck received the Quantum Device Award from the International Symposium on
25     Compound Semiconductors in 2007, was named an inaugural Materials Research
26     Society Fellow in 2008, and received the Japanese Journal of Applied Physics Best
27     Paper Award in 2008. In 2009, he became an American Physical Society Fellow. In
28     2010, he received the IEEE Photonics Society Aron Kressel Award for his work on
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 1     nonpolar and semipolar Gallium Nitride-based materials and devices. Professor
 2     Speck has authored over 600 papers and is an inventor of over 100 patents.
 3              32.   Research at SSLEEC and its predecessor entities has resulted in major
 4     technological breakthroughs in the field of solid state lighting. This research has
 5     also led to numerous successful startup companies that have created hundreds of
 6     jobs.
 7              33.   For example, in 2007, researchers at SSLEEC’s predecessor fabricated
 8     a gallium nitride-based LED with the highest efficiency and output power ever
 9     reported at the time. They achieved this feat by developing an LED based on non-
10     polar gallium nitride, which has a crystal structure arranged in the m-plane, rather
11     than the conventional c-plane gallium nitride LEDs known at the time. These non-
12     polar gallium nitride LEDs were more efficient and able to handle higher currents
13     than anything available at the time.
14              34.   As another example, in 2012, researchers at SSLEEC’s predecessor
15     achieved the world’s first violet non-polar vertical-cavity surface-emitting laser
16     (“VCSEL”), which was based on m-plane gallium nitride semiconductors. These
17     VCSELs were able to operate at room temperature and provide high optical gain,
18     which increases optical efficiency. This breakthrough also could result in greatly
19     reduced manufacturing costs, to be used in a variety of applications including
20     lighting, displays, sensors, and any technology that requires energy efficiency and a
21     small form-factor.
22              35.   Additionally, in 2013, SSLEEC researchers, including Professor
23     DenBaars, developed guidelines to make it possible to optimize phosphors—a key
24     component in white LED lighting—allowing for brighter, more efficient lights.
25     This breakthrough put high-efficiency, high-brightness, solid-state lighting on a fast
26     track.
27              36.   The filament LED technology covered by the Asserted Patents is
28     another example of the results of SSLEEC’s groundbreaking research. The Asserted
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                                           COMPLAINT
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 1     Patents cover some of the important innovations of Professors Nakamura,
 2     DenBaars, and Speck, including those that use transparent LED structures and
 3     packaging to enable filament LED light bulbs.
 4                                    ASSERTED PATENTS
 5           37.    On August 24, 2010, the United States Patent and Trademark Office
 6     duly and properly issued the ’789 patent, which is entitled “Transparent Mirrorless
 7     Light Emitting Diode”. The Regents owns by assignment all rights, title, and
 8     interest in the ’789 patent. A true and correct copy of the ’789 patent is attached as
 9     Exhibit C to this Complaint.
10           38.    On January 19, 2016, the United States Patent and Trademark Office
11     duly and properly issued the ’529 patent, which is entitled “Textured Phosphor
12     Conversion Layer Light Emitting Diode”. The Regents owns by assignment all
13     rights, title, and interest in the ’529 patent. A true and correct copy of the ’529
14     patent is attached as Exhibit D to this Complaint.
15           39.    On January 2, 2018, the United States Patent and Trademark Office
16     duly and properly issued the ’464 patent, which is entitled “Light Emitting Diode
17     With Light Extracted From Front And Back Sides Of A Lead Frame”. The Regents
18     owns by assignment all rights, title, and interest in the ’464 patent. A true and
19     correct copy of the ’464 patent is attached as Exhibit E to this Complaint.
20           40.    On February 26, 2019, the United States Patent and Trademark Office
21     duly and properly issued the ’916 patent, which is entitled “Transparent Light
22     Emitting Diodes”. The Regents owns by assignment all rights, title, and interest in
23     the ’916 patent. A true and correct copy of the ’916 patent is attached as Exhibit F
24     to this Complaint.
25              DEFENDANT’S KNOWLEDGE OF ASSERTED PATENTS
26           41.    The Defendant has had actual knowledge of the ’789 and ’529 patents
27     since no later than December 26, 2017, the date the Defendant received the notice
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                                           COMPLAINT
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 1     of infringement attached as Exhibit A, according to the certified mail return receipt
 2     included in Exhibit A.
 3                                   ACCUSED PRODUCTS
 4           42.     Each product listed below, which are reflected on the receipt attached
 5     as Exhibit B, and every other product that includes a filament LED component not
 6     more than colorably different from the filament LED components in the products
 7     listed below (collectively, the “Accused Products”), meets each and every
 8     limitation of at least one claim of each of the Asserted Patents, literally or by
 9     equivalents:*
10            Great Value LED Deco Vintage Edison Light Bulb 4 Watt 2-pack,
11                 Model CAD4W22G-2P, Walmart # 555602838,
12            Great Value LED ST19 Vintage Edison Light Bulb 4.5 Watt 4-pack,
13                 Model ST19D4.5W22G4PT, Walmart # 567190771,
14            Great Value LED ST12 Amber Light Bulb 4.5 Watt 4-pack,
15                 Model ST12D4.5W22G4PT, Walmart # 567190782,
16            Sylvania Lowell Cage Pendant Light, LED, Dimmable,
17                 Model CAGEPENDANT/120/30/BL/VID/CC, Walmart # 568495737,
18                 and
19            Sylvania Vintage LED B10 Light Bulb 4 Watt Candelabra Base 2-pack,
20                 Model LED4B10C/BENT/822/VIN/RP2, Walmart # 563408795.
21           43.     The Regents needs discovery from the Defendant to identify all of the
22     Accused Products that the Defendant has used, offered to sell, sold, or imported
23     into the United States and for which The Regents will seek relief in this case.
24           44.     Each of the Accused Products listed above is labeled on the product or
25     packaging “Made in China”.
26                       CLAIM I: INFRINGEMENT OF THE ’789 PATENT
27           45.     The Regents repeats and realleges the allegations of the foregoing
28     Paragraphs 1 through 44 as if fully set forth herein.
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                                           COMPLAINT
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 1           46.    The Defendant has infringed at least one claim of the ’789 patent
 2     under 35 U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of
 3     equivalents, in connection with using, offering to sell, selling, and/or importing into
 4     the United States the Accused Products.
 5           47.    Attached as Exhibit G is a claim chart demonstrating infringement of
 6     representative claims of the ’789 patent by a representative Accused Product sold
 7     by the Defendant, namely, the Great Value LED Deco Vintage Edison Light Bulb 4
 8     Watt 2-pack, Model CAD4W22G-2P, Walmart # 555602838. Exhibit G is for
 9     illustrative pleading purposes only and is not intended to limit the patent claims
10     asserted or the Accused Products at issue in this case. Subject to receiving
11     discovery from the Defendant regarding all of the Accused Products it has used,
12     offered to sell, sold, or imported into the United States, The Regents will disclose
13     its contentions regarding the claims of the ’789 patent that are infringed and the
14     Accused Products for which The Regents seeks relief.
15           48.    The Defendant’s infringement of the ’789 patent has caused and will
16     continue to cause The Regents substantial monetary harm, for which The Regents is
17     entitled to receive compensatory damages in an amount to be determined at trial,
18     but in no event less than a reasonable royalty.
19                  CLAIM II: INFRINGEMENT OF THE ’529 PATENT
20           49.    The Regents repeats and realleges the allegations of the foregoing
21     Paragraphs 1 through 48 as if fully set forth herein.
22           50.    The Defendant has infringed at least one claim of the ’529 patent
23     under 35 U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of
24     equivalents, in connection with using, offering to sell, selling, and/or importing into
25     the United States the Accused Products.
26           51.    Attached as Exhibit H is a claim chart demonstrating infringement of
27     representative claims of the ’529 patent by a representative Accused Product sold
28     by the Defendant, namely, the Great Value LED Deco Vintage Edison Light Bulb 4
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                                          COMPLAINT
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 1     Watt 2-pack, Model CAD4W22G-2P, Walmart # 555602838. Exhibit H is for
 2     illustrative pleading purposes only and is not intended to limit the patent claims
 3     asserted or the Accused Products at issue in this case. Subject to receiving
 4     discovery from the Defendant regarding all of the Accused Products it has used,
 5     offered to sell, sold, or imported into the United States, The Regents will disclose
 6     its contentions regarding the claims of the ’529 patent that are infringed and the
 7     Accused Products for which The Regents seeks relief.
 8           52.    The Defendant’s infringement of the ’529 patent has caused and will
 9     continue to cause The Regents substantial monetary harm, for which The Regents is
10     entitled to receive compensatory damages in an amount to be determined at trial,
11     but in no event less than a reasonable royalty.
12                 CLAIM III: INFRINGEMENT OF THE ’464 PATENT
13           53.    The Regents repeats and realleges the allegations of the foregoing
14     Paragraphs 1 through 52 as if fully set forth herein.
15           54.    The Defendant has infringed at least one claim of the ’464 patent
16     under 35 U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of
17     equivalents, in connection with using, offering to sell, selling, and/or importing into
18     the United States the Accused Products.
19           55.    Attached as Exhibit I is a claim chart demonstrating infringement of
20     representative claims of the ’464 patent by a representative Accused Product sold
21     by the Defendant, namely, the Great Value LED Deco Vintage Edison Light Bulb 4
22     Watt 2-pack, Model CAD4W22G-2P, Walmart # 555602838. Exhibit I is for
23     illustrative pleading purposes only and is not intended to limit the patent claims
24     asserted or the Accused Products at issue in this case. Subject to receiving
25     discovery from the Defendant regarding all of the Accused Products it has used,
26     offered to sell, sold, or imported into the United States, The Regents will disclose
27     its contentions regarding the claims of the ’464 patent that are infringed and the
28     Accused Products for which The Regents seeks relief.
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                                          COMPLAINT
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 1           56.    The Defendant’s infringement of the ’464 patent has caused and will
 2     continue to cause The Regents substantial monetary harm, for which The Regents is
 3     entitled to receive compensatory damages in an amount to be determined at trial,
 4     but in no event less than a reasonable royalty.
 5                 CLAIM IV: INFRINGEMENT OF THE ’916 PATENT
 6           57.    The Regents repeats and realleges the allegations of the foregoing
 7     Paragraphs 1 through 56 as if fully set forth herein.
 8           58.    The Defendant has infringed at least one claim of the ’916 patent
 9     under 35 U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of
10     equivalents, in connection with using, offering to sell, selling, and/or importing into
11     the United States the Accused Products.
12           59.    Attached as Exhibit J is a claim chart demonstrating infringement of
13     representative claims of the ’916 patent by a representative Accused Product sold
14     by the Defendant, namely, the Great Value LED Deco Vintage Edison Light Bulb 4
15     Watt 2-pack, Model CAD4W22G-2P, Walmart # 555602838. Exhibit J is for
16     illustrative pleading purposes only and is not intended to limit the patent claims
17     asserted or the Accused Products at issue in this case. Subject to receiving
18     discovery from the Defendant regarding all of the Accused Products it has used,
19     offered to sell, sold, or imported into the United States, The Regents will disclose
20     its contentions regarding the claims of the ’916 patent that are infringed and the
21     Accused Products for which The Regents seeks relief.
22           60.    The Defendant’s infringement of the ’916 patent has caused and will
23     continue to cause The Regents substantial monetary harm, for which The Regents is
24     entitled to receive compensatory damages in an amount to be determined at trial,
25     but in no event less than a reasonable royalty.
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                                          COMPLAINT
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 1                                   PRAYER FOR RELIEF
 2           WHEREFORE, The Regents respectfully requests the Court to enter
 3     judgment in favor of The Regents and against the Defendant as to all claims
 4     asserted herein as follows:
 5           A.     Granting a judgment that the Defendant has infringed the Asserted
 6     Patents in violation of 35 U.S.C. §§ 271(a) and/or 271(g);
 7           B.     Ordering the Defendant to pay to The Regents damages adequate to
 8     compensate for the infringement, but in no event less than a reasonable royalty for
 9     the use made of the patented inventions by the Defendant, together with pre-
10     judgment and post-judgment interest and costs as fixed by the Court, in accordance
11     with 35 U.S.C. § 284; and
12           C.     Granting The Regents such other and further relief as this Court may
13     deem just and proper.
14                                      JURY DEMAND
15           Pursuant to Federal Rule of Civil Procedure 38 and Central District of
16     California L.R. 38-1, The Regents demands a trial by jury on all issues so triable.
17
18      Dated: July 30, 2019                NIXON PEABODY LLP
19
20                                          By: /s/ Shawn G. Hansen
                                               Shawn G. Hansen
21
                                                Attorneys for Plaintiff
22                                              THE REGENTS OF THE
                                                UNIVERSITY OF CALIFORNIA
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                                          COMPLAINT
